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1
     DANIEL J. BRODERICK, Bar #89424
2    Federal Defender
     DENNIS S. WAKS, Bar #142581
3    Supervising Assistant Federal Defender
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    GLENN WATKINS
7
                        IN THE UNITED STATES DISTRICT COURT
8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,          )   NO. 2:10-cr-00178-MCE
10                                      )
                     Plaintiff,         )   STIPULATION AND ORDER RE:
11                                      )   CONTINUANCE OF STATUS HEARING AND
               v.                       )   FINDINGS OF EXCLUDABLE TIME
12                                      )
     JAKE WEATHERS, et al.,             )   DATE: March 17, 2011
13                                      )   TIME: 9:00 a.m.
                     Defendants.        )   JUDGE: Hon. Morrison C. England Jr.
14                                      )
     _____________________________      )
15
16        GLENN WATKINS, by and through his counsel, DENNIS S. WAKS,
17   Supervising Assistant Federal Defender, JAKE WEATHERS, by and through
18   his counsel, HAYES GABLE, KEVIN WATKINS, by and through his counsel,
19   DAN F. KOUKOL, FREDERICK DAVIS, by and through his counsel, JOSEPH J.
20   WISEMAN, PAUL YEARBY, JR., by and through his counsel, BRUCE LOCKE and
21   the United States Government, by and through its counsel, RUSSELL
22   CARLBERG, Assistant United States Attorney, hereby agree that the
23   status conference set for January 13, 2011, be continued to a status
24   conference on March 17, 2011, at 9:00 a.m.       This continuance is
25   requested because counsel for the defendant requires additional time to
26   obtain and review discovery, continue our investigation, and to
27   interview our clients and many other witnesses.        The government has
28   provided the defendant’s with over 9000 pages of discovery.
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1    The defendants in this case consent to this continuance.
2         Counsel, along with the defendants agree that the time from the
3    date of this order through March 17, 2011, should be excluded in
4    computing the time within which trial must commence under the Speedy
5    Trial Act, pursuant to 18 U.S.C. §§3161(h)(7)(A)and(B)(iv) [Local Code
6    T4] (reasonable time to prepare) and (h)(7)(B)(ii) [Local Code T2]
7    (unusual and complex).
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1
2    DATED: January 6, 2010           Respectfully submitted,
3                                     DANIEL J. BRODERICK
                                      Federal Defender
4
                                      /S/ Dennis S. Waks
5                                     DENNIS S. WAKS
                                      Supervising Assistant Federal Defender
6                                     Attorney for Defendant
                                      GLENN WATKINS
7
                                      /s/ Dennis S. Waks for
8                                     HAYES GABLE, attorney for
                                      JAKE WEATHERS
9
                                      /S/ Dennis S. Waks
10                                    DAN F. KOUKOL, attorney for
                                      KEVIN WATKINS
11
                                      /S/ Dennis S. Waks
12                                    JOSEPH J. WISEMAN, attorney for
                                      FREDERICK DAVIS
13
                                      /S/ Dennis S. Waks
14                                    BRUCE LOCKE, attorney for
                                      PAUL YEARBY, JR.
15
     DATE: January 6, 2010            BENJAMIN B. WAGNER
16                                    United States Attorney
17                                    /S/ Dennis S. Waks for
                                      RUSSELL CARLBERG
18                                    Assistant United States Attorney
19
                                       O R D E R
20
21       IT IS SO ORDERED.
22
     Dated: January 13, 2011
23
24                                        _____________________________
                                          MORRISON C. ENGLAND, JR.
25
                                          UNITED STATES DISTRICT JUDGE
26
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28


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